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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF SOUTH CAROLINA
                                             (Charleston Division)

FORTRA LLC and ECRIME                                            C/A No.: 2:25-cv-03783-DCN
MANAGEMENT STRATEGIES INC., d/b/a
PHISHLABS,
                                                                        Motion in Support of
                        Plaintiffs,                                   Pro Hac Vice Application
                                                                          Catherine Y. Lui
                v.

DOPPEL INC. and PATRICK LELAND,

                        Defendants.


       The undersigned local counsel hereby moves, together with the attached Application and
Affidavit, that Catherine Y. Lui be admitted pro hac vice in the above-captioned case as associate
counsel. As local counsel, I understand that:

1.       I will personally sign and include my District of South Carolina federal bar attorney
         identification number on each pleading, motion, discovery procedure, or other document
         that I serve or file in this court; and
2.       All pleadings and other documents that I file in this case will contain my name, firm
         name, address, and phone number and those of my associate counsel admitted pro hac
         vice; and
3.       Service of all pleadings and notices as required shall be sufficient if served upon me, and
         it is my responsibility to serve my associate counsel admitted pro hac vice; and
4.       Unless excused by the court, I will be present at all pretrial conferences, hearings, and
         trials and may attend discovery proceedings. I will be prepared to actively participate if
         necessary.
5.       Certification of Consultation (Local Civil Rule 7.02).
                  Prior to filing this Motion, I conferred with opposing counsel who has indicated
                  the following position as to this Motion: will likely oppose; does not intend
                  to oppose
                  Prior to filing this Motion, I attempted to confer with opposing counsel but was
                  unable to do so for the following reason(s):
                  __________________________________________________________________
                __________________________________________________________________


                No duty of consultation is required because the opposing party is proceeding pro
se.
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                                        Local Counsel for Defendant Doppel Inc.

                                        s/John P. Linton, Jr.
                                        John P. Linton, Jr.
                                        Federal Bar Number 11089
                                        WALKER GRESSETTE & LINTON, LLC
                                        P.O. Box Drawer 22167
                                        Charleston, SC 29413
                                        (843) 727-2252
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Charleston, South Carolina
June 19, 2025
